 Case 2:21-cv-03019-RGK-MAR Document 45-1 Filed 07/02/21 Page 1 of 4 Page ID #:528




1                         DECLARATION OF LYNDON VERSOZA
2          I, Lyndon Versoza, declare and state as follows:
3          1.     I am a United States Postal Inspector employed by the United States Postal
4    Inspection Service (“USPIS”), Los Angeles Division, in Los Angeles, California, where
5    I have served since June 2005. Currently, I am responsible for investigating criminal
6    violations of money laundering and structuring laws, such as when the services of the
7    United States Postal Service are employed by criminals as part of the means to launder
8    or conceal illicit funds, and/or avoid banking reporting requirements. I am also one of
9    seven Postal Inspectors in the U.S. currently designated by USPIS as a Subject Matter
10   Expert (“SME”) in money laundering investigations. As a SME, I have spoken at money
11   laundering conferences and provided training to the financial and banking industry and
12   other law enforcement agents. I have also received both formal and informal money
13   laundering training from USPIS and other government and private agencies.
14         2.     During my 16-year career as a Postal Inspector, I have investigated: drug
15   trafficking organizations, thieves, burglars, rapists, murderers, armed robbers, prison and
16   street gangs, and perpetrators of financial violations (including money launderers,
17   darknet vendors, digital currency launderers, identity thieves and fraudsters). For
18   approximately five years prior to investigating money laundering, I was assigned to
19   investigate child exploitation and sex trafficking. In that assignment, I worked both
20   independently and in a task force where I led and participated in investigations related to
21   crimes involving the exploitation of children and sex trafficking domestically and
22   internationally. In that capacity, I also earned a designation by USPIS as a SME in Child
23   Exploitation Investigations.
24         3.     From 2002 to 2005, prior to my service as a US Postal Inspector, I served as
25   a law enforcement officer with the US Immigration and Naturalization Service, which
26   later became part of the US Department of Homeland Security. In this capacity I
27   enforced immigration and customs law at an international airport and seaport, and later,
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 Case 2:21-cv-03019-RGK-MAR Document 45-1 Filed 07/02/21 Page 2 of 4 Page ID #:529




1    served in an intelligence unit for local and national counter-terrorism and smuggling
2    operations.
3          4.      As a result of my experience and training, I have become familiar with the
4    methods of operation of persons involved in illegal activities, such as drug trafficking,
5    including their techniques for collecting and laundering illegal proceeds. For example, I
6    know that persons who engage in drug trafficking typically receive payment from their
7    drug trafficking customers in cash. In addition, I know that persons who successful and
8    receive large sums of cash derived from drug trafficking, will often need a place, safe
9    from competitors and law enforcement to store the illicit cash. I also know that drug
10   traffickers would often want to separate the cash from their identity.
11         5.      I base this declaration on my personal knowledge as well as my training and
12   experience, as set forth above, and information provided to me by other law enforcement
13   officers.
14         6.      According to an official count conducted relative to the funds law
15   enforcement officers found in box number 904 at US Private Vaults, a total of
16   $914,700.00 in cash was situated within that box. There was no contact or ownership
17   information within that box, so the owner of the funds situated therein is not known to
18   law enforcement officers.
19         7.      I reviewed the declaration of the canine handler, which provides that the
20   handler’s trained, state-certified narcotic detection canine alerted on March 24, 2021 to
21   the scent of controlled substances emanating from the cash in box number 904.
22         8.      Based on my training and experience, I state the following. It is extremely
23   unusual to find over $900,000 in cash in one place. Even successful and professional
24   drug traffickers and money launderers rarely have so much cash, as it is inherently
25   suspicious, and very difficult to spend; cash transactions of $10,000 or more generate
26   currency transaction reporting requirements. Having over $900,000 in cash, which is an
27   extremely large amount, and coupled with the canine alert and the bundling, rubber-
28   banding and other characteristics of the cash that I describe below, indicates that the
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 Case 2:21-cv-03019-RGK-MAR Document 45-1 Filed 07/02/21 Page 3 of 4 Page ID #:530




1    owner of the funds in Box 904 is either a top-level drug trafficker or money launderer.
2          9.     Based on my review of the video of the inventory of Box number 904 and
3    my training and experience, I state the following. The cash in that box was bundled,
4    with inconsistent amounts of cash and cash denominations between the bundles. In
5    addition, the bundles were in a variety of ways, with some of the bundles wrapped in
6    thick rubber bands while other bundles were wrapped in thin rubber bands (some of the
7    rubber bands appeared broken, indicative of older bundles of cash); other bundles were
8    stored in thick tightly tape-wrapped paper; other bundles were stored in plastic CVS
9    Pharmacy bags; other bundles stored in paper bags, including Good Neighbor Pharmacy
10   paper bags and other plain black bags; other bundles were loose and not wrapped at all;
11   and other bundles had paper bank bands.
12         10.    Based on the factors I observed above, I believe that the cash bundles
13   totaling $914,700.00 are indicative of drug trafficking or money laundering:
14                a.     Because the cash bundles were packaged inconsistently from one
15   another, in varying denominations, I believe that the cash bundles would have likely
16   been received from different sources during different illegal financial transactions and
17   not withdrawn from banks. I know that banks do not generally provide cash in plastic
18   pharmacy bags, tape-wrapped paper or rubber bands. Because large amounts of cash are
19   difficult to spend, heavy to carry, and easy to lose track of, as opposed to the
20   convenience of the banking system, I believe that it is highly unusual for any large legal
21   transactions to occur in cash.
22                b.     As previously mentioned, some of the cash bundles appeared to have
23   broken rubber bands which I know to mean that the rubber bands that wrapped the cash
24   were old and had lost their elastic properties, and therefore the cash held by the rubber
25   bands would have been sitting for a long time. Due to inflation, I believe that legitimate
26   business or persons do not generally hold over $900,000 in cash in a storage vault. The
27   average cost of yearly inflation of 3.1% would mean that the storage is costing its owner
28   almost $30,000 per year.
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Case 2:21-cv-03019-RGK-MAR Document 45-1 Filed 07/02/21 Page 4 of 4 Page ID #:531




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